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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

KEVIN ALLER,

OG Petitioner, 1i-cev-9089 (JGK)
AS 00-cr-977 (JGK)
et cen” :

we - against -
g ORDER

 

UNITED STATES OF AMERICA,

Respondent.

 

JOHN G. KOELTL, District Judge:

The Court received the attached letter, dated October @G,
2020, from the defendant, which the Court forwards to counsel.
The Court requests defense counsel to advise the defendant to

direct any communications to the Court through defense counsel.

_SO ORDERED.

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Dated: New York, New York Qh GMb
October 26, 2020 i f (LK
- “John G. Koeltl
United States District Judge

 
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